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 3
                          IN THE UNITED STATES DISTRICT COURT
 4                            FOR THE DISTRICT OF ARIZONA
 5
     United States of America,                  )
 6                                              )   CR 13-00446-001-TUC-JGZ(BGM)
                   Plaintiff,                   )
 7                                              )
     vs.                                        )
 8                                              )          MAGISTRATE JUDGE'S
                                                )    FINDINGS AND RECOMMENDATION
 9   Miguel Angel Marquez-Martinez,             )        UPON A PLEA OF GUILTY
                                                )
10                 Defendant.                   )
                                                )
11                                              )
12          Upon Defendant's request to enter a plea of guilty pursuant to Rule 11 of the Federal
13   Rules of Criminal Procedure, this matter was referred to the Magistrate Judge by the District
14   Court, with the written consents of the Defendant, counsel for the Defendant, and counsel
15   for the United States.
16          Thereafter, the matter came on for a hearing on Defendant's plea of guilty to one-count
17   Indictment which charges 8:1326 (enhanced by (b)(2)); ILLEGAL RE-ENTRY AFTER
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     DEPORTATION in full compliance with Rule 11, Federal Rules of Criminal Procedure,
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     before the Magistrate Judge, in open court and on the record.
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            In consideration of that hearing and the allocution made by the Defendant under oath
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     on the record and in the presence of counsel, and the remarks of the Assistant United States
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     Attorney,
23
     (A) I FIND as follows:
24                (1)    that Defendant is competent to plead;
25                (2)    that Defendant understands his/her right to trial;
                  (3)    that Defendant understands what the minimum mandatory and
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     maximum possible sentence is, including the effect of the supervised release term, and
27   defendant understands that the sentencing guidelines apply and that the court may depart
28   from those guidelines under some circumstances;
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 1                (4)     that the plea of guilty by the Defendant has been knowingly and
 2   voluntarily made and is not the result of force or threats or of promises apart from the
     agreement between the parties;
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                  (5)     that Defendant understands the nature of the charge against him/her;
 4                (6)     that Defendant understands that his/her answers may later be used
 5   against him/her in a prosecution for perjury or false statement; and
                  (7)     that there is a factual basis for the Defendant's plea;
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                  (8)     that Defendant has been advised of the consequences of having a prior
 7                        felony conviction; and, does admit to having a prior felony conviction;
 8                (9)     that the defendant knowingly, intelligently and voluntarily waived
                          his/her right to appeal or collaterally attack his/her conviction and any
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                          sentence imposed if it is within the range permitted by the plea
10                        agreement;
11                                             and further,
     (B) I RECOMMEND that the District Court accept the Defendant's plea of guilty to
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     one-count Indictment which charges 8:1326 (enhanced by (b)(2)); ILLEGAL RE-ENTRY
13   AFTER DEPORTATION.
14   (C) The parties have fourteen (14) days from the date of service of this Report and
     Recommendation to file written objections with the District Court.
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16   IT IS FURTHER ORDERED:
17   (D) Presentence Report to be prepared. (1) Any objection(s) to the presentence report shall
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     be filed no later than 14 days after receiving the presentence report pursuant to Fed.R.
     Crim.P. 32 (f) (1); (2) any response to the objection(s) to the presentence report shall be filed
19   no later than 11 days after receiving the objection(s); (3) any sentencing memorandum shall
20   be filed no later than 5 business days prior to sentencing; (4) Any party seeking to continue
21   a sentencing date shall file a Motion to Continue no later than two (2) business days prior to
     the date of the hearing. Additionally, counsel shall telephonically notify chambers when
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     sentencing is within two (2) business days; (5) failure to comply with this Order may result
23   in the imposition of sanctions.
24           DATED this 10th day of June, 2013.

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